Case 1:11-cr-00003-DLI             Document 362            Filed 07/09/13   Page 1 of 2 PageID #: 4938




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                  :
                                                            :               SUMMARY ORDER
                            -against-                       :
                                                            :                11-CR-03 (DLI)
 VINCENT DRAGONETTI,                                        :
                                                            :
                                     Defendant.             :
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 DORA L. IRIZARRY, U.S. District Judge:

         Defendant Vincent Dragonetti (“Defendant”) seeks clarification as to one of the special

 conditions of his supervised release (see Defendant’s Motion for Clarification (“Def.’s Mot.”),

 Dkt. Entry No. 354). In particular, Defendant seeks authorization to perform his court-ordered

 200 hours of community service through Friends of Rockaway, a nonprofit organization that

 works to restore and rebuild the Rockaway community in the wake of the damage caused by

 Super Storm Sandy (“Sandy”). (Def.’s Mot., Ex. B.) The United States Probation Department

 (“Probation”) expressed concern that performance of community service through organizations

 associated with the construction industry would create a “conflict of interest” and would make it

 “extremely difficult . . . to verify that hours were being completed legitimately.” (Probation

 Response to Attorney Objection Letter (“Probation Resp.”), Dkt. Entry No. 355 at 2.) Probation

 assigned Defendant a placement in the thrift shop at Mercy Hospital in Rockville Centre, New

 York. (Id.) The Government joins in Probation’s opposition to Defendant’s request. (See

 Government Opposition (“Gov’t Opp’n”), Dkt. Entry No. 356.)

         On April 12, 2013, the Court sentenced Defendant to a four-year term of probation, and

 among other conditions of supervised release, ordered Defendant to perform 200 hours of

 community service. (See April 12, 2013 Minute Entry.) As Probation notes, the Judgment of

 Conviction does not specify the particular parameters of Defendant’s community service. (See
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Case 1:11-cr-00003-DLI       Document 362        Filed 07/09/13     Page 2 of 2 PageID #: 4939




 Judgment of Conviction (“J.”), Dkt. Entry No. 343.)        However, at sentencing, the Court

 explained that “[g]iven your expertise in landscaping and construction, I would like for that

 community service to be used to assist the victims of . . . Sandy who are still suffering who I’m

 sure could certainly use whatever assistance you might be able to give.” (Transcript of April 12,

 2013 Sentencing Hearing (“Sentencing Tr.”), attached as Ex. A to Def.’s Mot. 60:13-17.)

 Neither the government nor Probation objected to the Court’s specific directives as to

 Defendant’s community service. The Court imposed the same Sandy-related community service

 when sentencing Defendant’s co-defendants. Moreover, the minute entry from the sentencing

 hearing specifies that Defendant must “[p]erform 200 hours community service assisting victims

 of Superstorm Sandy.” (April 12, 2013 Minute Entry.)

        The Court intended the specific ruling regarding Defendant’s community service to be

 incorporated in his Judgment of Conviction. To the extent that the Judgment of Conviction

 implies otherwise, the Court hereby clarifies that Defendant is to perform 200 hours of

 community service assisting the Rockaway community in its recovery from Sandy. Based on the

 submissions of the parties, Defendant’s proposed assistance at Friends of Rockaway would

 satisfy this requirement. If, after Probation makes its own assessment of the program, it finds

 that the program is not appropriate, Probation shall find another program that does similar work

 and is appropriate.

 SO ORDERED.

 Dated: Brooklyn, New York
        July 9, 2013

                                                                        /s/
                                                              DORA L. IRIZARRY
                                                            United States District Judge




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